Case 2:04-cv-02887-BBD-dkv Document 11 Filed 04/26/05 Page 1 of 3 Page|D 23

UNITED STATES DISTRICT COURT

   

 

WESTERN DISTRICT oF TENNESSEE 53 95 .-¥F § fr q
WESTERN DIvlsIoN ,_ __

`;`1)§.; _m ii-:`;'=“jwi"'.‘ . t 19
W-f`~`i- G»‘: ':`N. ;`\);i..i.P;§té

PRooREssi\/E CLASSIC leuRANcE

CoMPANY,

Plaintirr,
Civu Acmm No. 04-2837-Dv
V.

sCoTT sARTlN d/h/a PYRAMID EsCoRT SERVICES,
PYRAMID ESCORT SERVICE, INC., l)oNALI)
DAVIDsoN, BRIAN MURPHY¢, 'CARVER BoAT
CoRPoRATIoN, LLC, ;IUSTUS BoAT TRANsPoRT
“SoU'I‘HERN" INC., SCITUATE YACHT CoMPANY, INC.,
and~EssEX INSURANCE CoMPANY,

Defendants.

 

ORI)ER ()F DISMISSAL WITHOUT PREJUDICE

 

THIS CAUSE came on to be heard upon the Default Judg,ment as to Defendants Scoti Sartin
d/b/a Pyramid Escort Services and Pyramid Escort Service, lnc., the Final Judgment Order as to
Defendants Scott Sartin d/b/a Pyramid Escort Services and Pyramid Escort Service, Inc., entered on
April ll, 2()()5, and upon the entire record in this cause, from all of which the Court finds that
Plaintii`i"s cause oi` action as to De[endants Dona]d Davidson, Brian Murphy, Carver Boat
Corporation, LLC, Justus Boat Transport “Southern"’ inc.,`Scituate Yacht Company, Inc., and Essex
Insurance Company, should be dismissed Without prejudice.

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED BY THE COURT that

Piaintii`i"s cause of action as to Defendants Dona]d Davidson, Brian Murphy, Carver Boat

  
 

mg attainment entered on the docket
_ ; -'~.:-3 and/or 79(a) FRCP on

Case 2:04-cv-02887-BBD-dkv Document 11 Filed 04/26/05 Page 2 of 3 Page|D 24

Corporation, l,LC, Justus Boat '1`ransport "‘Southern" lnc._1 Scituate Yacht Cornpany, Ine., and lissex

Insurance Conipany, be and the same are hereby dismissed without prejudice.

Thisgi¥i§y ar [ 2794 L_,g~ , 2005.

J DGE

APPROVED FOR ENTRY:

WMIWM/@

KEN‘NE*FH R. RUDSTRoM #5054
Brinkley Plaza

80 Monroe Avenue, Suite 500
Memphis, Tennessee 38]03

(90]) 523-1333

CERTIFICATE ()F SERVICE

i hereby certify that a Copy of the foregoing has been served on counsel of record by mailing a
copy of same by U. S. Mail, to Scott Sartin, 6321 Brandersham, Memphis, TN 38134, Pyramid
Escort Service, Inc., 632] Brandersham, Memphis, TN 38134 Mr. Jay Starrett and Mr. Steven
Stanaszak, 555 East Wells Street, Suite 19()(), Milwaukee, WI 53202-3819 and Jean Gard er, 14

Penn Plaza, Suite 500, New York7 NY }0]22, postage pre-paid, this f data day of fi`]&@/ ,

2005 rfva /MW\-/i

Rick Rudstrom

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 11 in
case 2:04-CV-02887 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listcd.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

